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 JS 44 (Rev. 04/21)                                                       CIVIL COVER SHEET
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
 provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
 purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
 I. (a) PLAINTIFFS                                                                                         DEFENDANTS
  Lorenzo Budet, on behalf of himself and all others                                                      Rutgers Business School, Rutgers The State
  similarly situated                                                                                      University of New Jersey
   (b) County of Residence of First Listed Plaintiff Atlantic                                                                          Middlesex
                                                                                                           County of Residence of First Listed Defendant
                                 (EXCEPT IN U.S. PLAINTIFF CASES)                                                                 (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                           NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                      THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)
Charles J. Kocher, Esq. & Matthew A. Luber, Esq.
McOmber McOmber & Luber, P.C.
39 E. Main Street, Marlton, NJ 08053, 856-985-9800
 II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                      III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                        (For Diversity Cases Only)                                     and One Box for Defendant)
   1    U.S. Government                 3    Federal Question                                                                    PTF          DEF                                        PTF      DEF
          Plaintiff                            (U.S. Government Not a Party)                      Citizen of This State            1X           1     Incorporated or Principal Place         4     4X
                                                                                                                                                        of Business In This State

   2    U.S. Government              X4      Diversity                                            Citizen of Another State              2         2   Incorporated and Principal Place           5         5
          Defendant                            (Indicate Citizenship of Parties in Item III)                                                            of Business In Another State

                                                                                                  Citizen or Subject of a               3         3   Foreign Nation                             6         6
                                                                                                    Foreign Country
 IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                      Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                               TORTS                             FORFEITURE/PENALTY                         BANKRUPTCY                      OTHER STATUTES
   110 Insurance                       PERSONAL INJURY              PERSONAL INJURY                  625 Drug Related Seizure               422 Appeal 28 USC 158            375 False Claims Act
   120 Marine                          310 Airplane                365 Personal Injury -                 of Property 21 USC 881             423 Withdrawal                   376 Qui Tam (31 USC
   130 Miller Act                      315 Airplane Product            Product Liability             690 Other                                  28 USC 157                       3729(a))
   140 Negotiable Instrument                Liability              367 Health Care/                                                           INTELLECTUAL                   400 State Reapportionment
   150 Recovery of Overpayment         320 Assault, Libel &            Pharmaceutical                                                       PROPERTY RIGHTS                  410 Antitrust
       & Enforcement of Judgment            Slander                    Personal Injury                                                      820 Copyrights                   430 Banks and Banking
   151 Medicare Act                    330 Federal Employers’          Product Liability                                                    830 Patent                       450 Commerce
   152 Recovery of Defaulted                Liability              368 Asbestos Personal                                                    835 Patent - Abbreviated         460 Deportation
        Student Loans                  340 Marine                      Injury Product                                                           New Drug Application         470 Racketeer Influenced and
        (Excludes Veterans)            345 Marine Product              Liability                                                            840 Trademark                        Corrupt Organizations
   153 Recovery of Overpayment              Liability             PERSONAL PROPERTY                           LABOR                         880 Defend Trade Secrets         480 Consumer Credit
       of Veteran’s Benefits           350 Motor Vehicle           370 Other Fraud
                                                                    X                                710 Fair Labor Standards                   Act of 2016                      (15 USC 1681 or 1692)
   160 Stockholders’ Suits             355 Motor Vehicle           371 Truth in Lending                  Act                                                                 485 Telephone Consumer
   190 Other Contract                      Product Liability       380 Other Personal                720 Labor/Management                   SOCIAL SECURITY                      Protection Act
   195 Contract Product Liability      360 Other Personal              Property Damage                   Relations                          861 HIA (1395ff)                 490 Cable/Sat TV
   196 Franchise                           Injury                  385 Property Damage               740 Railway Labor Act                  862 Black Lung (923)             850 Securities/Commodities/
                                       362 Personal Injury -           Product Liability             751 Family and Medical                 863 DIWC/DIWW (405(g))               Exchange
                                           Medical Malpractice                                           Leave Act                          864 SSID Title XVI               890 Other Statutory Actions
       REAL PROPERTY                     CIVIL RIGHTS             PRISONER PETITIONS                 790 Other Labor Litigation             865 RSI (405(g))                 891 Agricultural Acts
   210 Land Condemnation               440 Other Civil Rights      Habeas Corpus:                    791 Employee Retirement                                                 893 Environmental Matters
   220 Foreclosure                     441 Voting                  463 Alien Detainee                    Income Security Act                FEDERAL TAX SUITS                895 Freedom of Information
   230 Rent Lease & Ejectment          442 Employment              510 Motions to Vacate                                                    870 Taxes (U.S. Plaintiff            Act
   240 Torts to Land                   443 Housing/                    Sentence                                                                  or Defendant)               896 Arbitration
   245 Tort Product Liability              Accommodations          530 General                                                              871 IRS—Third Party              899 Administrative Procedure
   290 All Other Real Property         445 Amer. w/Disabilities -  535 Death Penalty                     IMMIGRATION                             26 USC 7609                     Act/Review or Appeal of
                                           Employment              Other:                            462 Naturalization Application                                              Agency Decision
                                       446 Amer. w/Disabilities -  540 Mandamus & Other              465 Other Immigration                                                   950 Constitutionality of
                                           Other                   550 Civil Rights                      Actions                                                                 State Statutes
                                       448 Education               555 Prison Condition
                                                                   560 Civil Detainee -
                                                                       Conditions of
                                                                       Confinement
 V. ORIGIN (Place an “X” in One Box Only)
X1      Original
        Proceeding
                          2 Removed from
                            State Court
                                                              3    Remanded from
                                                                   Appellate Court
                                                                                                4 Reinstated or
                                                                                                  Reopened
                                                                                                                            5 Transferred from
                                                                                                                              Another District
                                                                                                                                                   6 Multidistrict
                                                                                                                                                       Litigation -
                                                                                                                                                                                         8 Multidistrict
                                                                                                                                                                                           Litigation -
                                                                                                                              (specify)                Transfer                            Direct File
                                        Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
 VI. CAUSE OF ACTION
                                            Class Action Fairness Act ,28 U.S.C. §1332(d) ("CAFA")
                                        Brief description of cause:
                                        Deceptive and unconscionable consumer practices
 VII. REQUESTED IN    X CHECK IF THIS IS A CLASS ACTION                                              DEMAND $                                     CHECK YES only if demanded in complaint:
      COMPLAINT:         UNDER RULE 23, F.R.Cv.P.                                                 $9,999,999                                      JURY DEMAND:                X Yes             No
 VIII. RELATED CASE(S)
                       (See instructions):
       IF ANY                              JUDGE                                                                                            DOCKET NUMBER
 DATE                                                                   SIGNATURE OF ATTORNEY OF RECORD
 04/12/2022                                                             /s/ Charles J. Kocher, Esq.
 FOR OFFICE USE ONLY

   RECEIPT #                     AMOUNT                                     APPLYING IFP                                    JUDGE                             MAG. JUDGE
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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY
LORENZO BUDET, on behalf of                    Civil No.:
himself and all others similarly situated,
                                               CLASS ACTION COMPLAINT
                    Plaintiffs,

      v.                                       DEMAND FOR JURY TRIAL

RUTGERS BUSINESS SCHOOL,
RUTGERS THE STATE UNIVERSITY
OF NEW JERSEY,


                    Defendants.

      Plaintiff LORENZO BUDET, on behalf of himself and all others similarly
situated, by and through his attorneys, McOmber McOmber & Luber, P.C., hereby
files this Class Action Complaint against Defendants RUTGERS BUSINESS
SCHOOL, RUTGERS THE STATE UNIVERSITY OF NEW JERSEY (hereinafter
“Rutgers University”) (collectively “Rutgers”) and states as follows:
                      I.          NATURE OF THE ACTION
     1. Plaintiff brings this action individually, and on behalf of all similarly
situated persons, who enrolled as students in the Master of Business Administration
(“MBA”) and other master degree programs at Rutgers Business School since
January 1, 2018. This was a massive fraud on Rutgers’ prospective students.
     2. Plaintiff alleges a violation of the New Jersey Consumer Fraud Act, breach
of contract, and unjust enrichment, and seeks declaratory and injunctive relief,
compensatory, consequential, and treble damages, costs and reasonable attorneys’
fees for Rutgers’ fraudulent and deceptive business practices of inflating its
educational rankings by submitting false and misleading employability statistics to




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educational ranking organizations such as U.S. News & World Report and the
Financial Times.
     3. Specifically, Rutgers intentionally reported false data and made
misleading claims in its marketing materials, falsely asserting that unemployed
students were purported gainfully employed in full-time MBA-level jobs with a
third-party company. The fraud worked. In 2018, the very first year of the scheme,
Rutgers was suddenly propelled to, among other things, the “No. 1” business school
in the Northeast region of the United States. But Rutgers Business School was
undeserving of its high rankings, having obtained this and other ranking positions
through deceit. As a result of Rutgers’ fraudulent and deceptive business practices,
its students paid a premium tuition but received an education less than and different
from what they expected given the tainted rankings.         Plaintiff and the Class
members would not have enrolled and paid this premium but for Rutgers’ deceit.
Rutgers was unjustly enriched through its retention of tuition premiums paid by
Plaintiff and Class members.
     4. But for Defendant Rutgers Business School’s high rankings as set forth
below, Plaintiff would have selected a different program. If Defendant Rutgers
Business School had not received these high rankings, Plaintiff would have not
agreed to pay Defendants’ premium per credit rate of tuition.
     5. Rutgers must pay restitution for reporting misleading and false data to the
educational ranking organizations.
                   II.     PARTIES AND JURISDICTION
     6. Plaintiff Lorenzo Budet (“Plaintiff”) is a resident of Atlantic City, New
Jersey. Plaintiff is a graduate student at Rutgers in its Supply Chain Management
MBA        program       beginning      in      September       2019.            See
https://www.business.rutgers.edu/part-time-mba/supply-chain-management          (last
visited April 12, 2022) (claiming Rutgers Business School is a “Top 10 MBA

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Program[]” for “Supply Chain Management in the world”). Plaintiff expects to
graduate in May 2023. Plaintiff has paid for his tuition, fees, and related expenses
out-of-pocket.
         7. Defendant Rutgers Business School is the second largest school at
Defendant Rutgers, serving thousands of students. Defendant RBS is recognized as
one of the top three public business schools among Big Ten business schools and is
the highest-ranked public business school in the Northeast United States.1
         8. Defendant Rutgers University is a higher education institution with its
headquarters and principal place of business located at 57 US Highway 1, New
Brunswick, NJ 08901.
                         III.        JURISDICTION AND VENUE
         9. The Court has jurisdiction over the subject matter presented by the
Complaint because it is a class action arising under the Class Action Fairness Act
of 2005 (“CAFA”), which confers original jurisdiction on federal courts over a class
action with at least 100 putative class members, minimal diversity in which any
member of the putative class is a citizen of a state different from any defendant, and
in which the amount in controversy exceeds in the aggregate sum of $5,000,000,
exclusive of interest and costs.
       10. Plaintiff alleges that there are at least 100 putative class members, as
“[Rutgers Business School] is educating more than 8,000 undergraduate and
graduate students per academic year and growing at two locations in New Jersey:
Rutgers University-Newark and Rutgers University-New Brunswick (Livingston
campus) as well as satellite locations in Jersey City, Madison, and Singapore.”2
Defendant Rutgers Business School boasts an enrollment of approximately 981
MBA students, as well as additional graduate students in its masters programs.

1
    https://www.business.rutgers.edu/about-rbs/at-a-glance (last visited April 11, 2022).
2
    http://catalogs.rutgers.edu/generated/nwk-ug_1820/pg418.html (last visited April 11, 2022).

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https://www.business.rutgers.edu/about-rbs/at-a-glance (last visited April 12,
2022).
    11. Rutgers Business School enrolled out-of-state graduate students since
January 1, 2018, and therefore, Plaintiff alleges that there are members of the
proposed Class that are citizens of a state different from Defendants to satisfy the
minimal diversity requirement under CAFA. 28 U.S.C. § 1332(d)(2)(A).
    12. Plaintiff alleges that minimal diversity exists with members of the
proposed class residents of states other than New Jersey and further that less than
two-thirds of the proposed class are residents of New Jersey.
    13. Plaintiff alleges that the amount in controversy exceeds $5,000,000,
pursuant 28 U.S.C. § 1332(d)(2) and (6).
    14. Venue within this District is proper because Defendant Rutgers is located
at 57 US Highway 1, New Brunswick, NJ 08901, which is within this District, is
operating a university at its campus, and the acts complained of occurred within the
District.
                    IV.       FACTUAL ALLEGATIONS
    15. Rutgers Business School schemed to hire graduating MBA students who
had not secured employment by the time of graduation so as to inflate its rankings.
    16. As a result of Defendants’ misleading statistical bolstering, Defendant
Rutgers Business School’s institutional rankings are artificially inflated.     The
inflated ranking constitutes a false representation to students, among others, in
violation of the Consumer Fraud Act, N.J.S.A. 56:8-1, et seq. (“CFA”).
    17. Defendants also boasted about the artificially inflated rankings in
marketing materials directed at potential Rutgers students, which led to millions of
dollars annually in increased tuition revenues.
    18. By bolstering its employment data, Defendant Rutgers Business School
created an impression that post-graduation employment is virtually guaranteed.

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    19. Instead of telling the truth to prospective and current students, Defendants
continue to make the claim that virtually all of its graduates are gainfully employed.
    20. As a result, students chose to attend Rutgers based on these false
representations and manipulated MBA and other masters programs ranking
statistics.
    21. For Defendants, ensuring each graduate student received a meaningful
education is of little import. Their focal point is “rankings,” “employment rates,”
and other crucial “statistics” that keep students flocking to Defendant Rutgers under
the guise that it will, or could, land them a highly coveted, highly paid job. See,
e.g., https://www.business.rutgers.edu/sites/default/files/documents/factsheet-mba-
full-time.pdf (last visited April 12, 2022) (“Ranked as the #1 Public Business
School for MBA Career Services in the Northeast (Financial Times, 2021) , we help
MBA students become competitive candidates so that they can secure MBA career
opportunities.”).
    22. Worse, students are heavily influenced by and rely upon Defendant
Rutgers’ ranking/statistics, not only when choosing one institution over another, but
when making the decision to take out loans to pay for higher education in the first
instance.
    23. Staggering debt coupled with long odds of landing a high paying job are a
recipe for economic disaster; indeed, many economists predict another recession
due to the trillions of dollars in unpaid student-loan debt.
    24. But none of that matters to Defendants, so long as the Rutgers “ranks”
higher than its competitors and the perks of working in higher education remain.
    25. For example, for U.S. News, “[t]he Best Graduate Schools rankings in are
based on two types of data: expert opinion about program excellence and statistical
indicators that measure the quality of a school’s faculty, research and students.” See
https://www.usnews.com/education/best-graduate-schools/articles/how-us-news-

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calculated-the-rankings (last visited on April 12, 2022).
    26. Business schools have their own specific criteria.         U.S. News Best
Business Schools rankings compare full-time MBA programs on their career
placement success, student excellence and qualitative assessments by experts.
https://www.usnews.com/best-graduate-schools/top-business-schools/mba-
rankings (last visited on April 12, 2022).
    27. To gather data, U.S. News asked deans, program directors and senior
faculty to judge the academic quality of programs in their field on a scale of 1
(marginal) to 5 (outstanding).
    28. Statistical indicators used in the six disciplines ranked annually fall into
two categories: (1) inputs, or measures of the qualities that students and faculty
bring to the educational experience, and (2) outputs, or measures of graduates’
achievements linked to their degrees.
    29. Different output measures are available for various fields. In business, for
example, U.S. News uses starting salaries and MBA graduates’ ability to find jobs
upon graduation or three months later.
    30. In fall 2021 and early 2022, U.S. News surveyed all 493 institutions with
master’s-level business programs in the U.S. accredited by AACSB International,
an organization that's widely considered the gold standard of business school
accreditation, for data collection.
    31. Schools reported on their full-time campus-based and hybrid programs that
included a foundation of general management skills and knowledge.
    32. These are most often MBA programs, although some degree offerings
included in this ranking have titles such as Master of Science in Management and
Master of Science in Industrial Administration.
    33. Among those surveyed as part of the Best Business Schools, a total of 363
survey recipients responded.

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      34. U.S. News ranked 134 business schools that provided enough data on their
full-time MBA programs and had large enough 2021 graduating classes seeking
employment for valid comparisons.3
      35. A significant factor is “placement success,” which includes three ranking
indicators on employment and earnings that in total contribute 35% to each school’s
overall rank.
      36. U.S. News uses the MBA Career Services & Employer Alliance (“CSEA”)
Standards for Reporting Employment Statistics as the basis for defining how MBA
programs should report full-time MBA employment statistics and other career
information, including starting base salaries, signing bonuses, and what proportion
of MBA graduates have jobs at graduation and three months after.                        See
https://www.mbacsea.org/standards (last visited on April 12, 2022).
      37. Defendant Rutgers is a member of the MBA CSEA. Each year the MBA
CSEA releases Standards for Reporting Employment Statistics to “ensure peer
schools, prospective students and the media have accurate and comparable
employment information from graduate business schools.” Specifically:




3
  The specific indicators can be found here. https://www.usnews.com/education/best-graduate-
schools/articles/business-schools-methodology (last visited on April 12, 2022).


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https://www.mbacsea.org/Files/MBA%20CSEA%20Standards%20Edition%20VI.
pdf
    38. To ensure comparable data, MBA CSEA maintains two reporting dates for
job offers and job acceptances, at graduation and at three months after graduation.
Prospective students and the general public view at graduation as a “normal”
reporting mark, and three months after graduation serves to give all schools equal
time post-graduation to report data.
    39. When reporting, Defendant Rutgers was “to develop a table or histogram
indicating the number and percent of job seeking full-time graduates who had (1)
received their first offer by graduation, (2) received their first offer after graduation


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and by three months after graduation, and (3) did not receive offer by three months
after graduation.” Specifically:




    40. MBA CSEA provides specific guidelines for each criterion. For example,
a “job offer is a valid offer for a specific position… It should however, be MBA-
level work, as noted in instruction 2 for Table 1.A. It does not include verbal
speculation or suggestions involving possible or potential offers for unidentified
positions.” Furthermore, an “information source may include an employer, a parent,
your personal knowledge, or other reliable sources. The career office should
document in an email communication or the Career Services office’s tracking
system the information on the offer sourced from the graduate, parent, employer or
other source stated above, and should include the date of the offer or accepted offer
and the date the career office received the information.”
    41. MBA CSEA also sets forth a reporting deadline: “Based upon all
information received as of one month past your three month post-graduation date,
develop a table or histogram indicating the number and percent of job seeking full-
time graduates who had: a. Accepted a job by graduation b. Accepted a job after
graduation and by three months after graduation, and c. Did not accept a job by
three months after graduation 2. A job acceptance occurs when a graduate has
notified an employer that he or she has accepted a valid offer for a specific position.

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The number of graduates in these three categories must equal the number of Total
Graduates Seeking Employment (from Table 1.A). Similarly, the denominator when
calculating the percent within each of the three categories is the Total Graduates
Seeking Employment. This information demonstrates when graduates actually had
a job that was acceptable to them.”
    42. Furthermore, MBA CSEA tracks “Salary/compensation data pertains only
to job acceptances received by three months after graduation.”
    43. The data should not include “positions accepted later than three months
post-graduation” and “salary information for graduates who were company-
sponsored or already employed, i.e., who had not accepted a new employment offer
(those graduates should have been included in the Not Seeking Employment
category on Table 1.A).”
    44. Using these industry standards has helped U.S. News ensure prospective
students have accurate and comparable employment information for each school.
    45. These statistics are a significant portion of the ranking: “There are two
distinct indicators on employment rates for graduates of full-time MBA
programs: employment rates at graduation (0.07) and employment rates three
months after graduation (0.14). In total, employment factors comprise 21% of each
school’s rank.”
    46. In fact, as Assistant Dean and Director Dean R. Vera recently discussed,
the “employability” statistics are critical to the “survival” of the business school:




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   47. Despite being a member of MBA CSEA, Rutgers intentionally
manipulates its employment statistics in violation of MBA CSEA standards, thereby


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leading to more students enrolling in its program, more national accolades, and
more funding.
    48. Compounding the problem, there is no place where prospective students
can find Rutgers’ “real” employment numbers. Rutgers supplies the same dubious
statistics to the Financial Times, Bloomberg Business Week, and other various news
outlets.
    49. Without informing publications, potential students, or parents, Rutgers
hired unemployed MBA students and placed them into token permanent positions
directly with the university.
    50. Worse, to mask the scheme, Defendants purported to hire the students via
the temporary employment agency Adecco.
    51. Defendants also utilized more than $400,000 from the university
endowment to fund the sham positions and to issue a kickback to Adecco for
engaging in the scheme:



REDACTED


REDACTED



REDACTED

REDACTED
                                                             REDACTED
 REDACTED
REDACTED
REDACTED




    52. By circumventing the restrictions – i.e., those which do not allow
universities to count internal hires for purposes of their employment statistics –
Defendant Rutgers inflated its hiring and employment ranking.
    53. Stated differently, through fraud, Defendants included unemployed MBA

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graduates when reporting their hiring and employment statistics. The scheme was
organized, deliberate, and unequivocal.
    54. On June 5, 2018, a meeting was scheduled with Assistant Dean Dean R.
Vera and Dan Stoll, Associate Director of Communications and Marketing, among
others, to initiate the scheme to manipulate employment data in order to improve
the business school’s ranking.
    55. After the meeting, Assistant Dean Dean R. Vera, sent around the resumes
for the Rutgers Business School MBA Marketing students who had not yet secured
employment.
    56. The very next day, Assistant Dean Dean R. Vera followed up stating, “Hi
Dan, Attached please find a Resume Packet with candidates whom I believe may
meet your hiring needs. Should you want to discuss any of these candidates, do not
hesitate to contact me.”
    57. On June 14, 2018, Manish Kumar, Former Rutgers Business School
Associate Dean of Finance and Administration, followed up, stating: “Hi Dan, Have
you identified the two students? If so please let us know so that we can move with
temp hiring process. Dean- By what date students should be employed by?”
    58. Assistant Dean Dean R. Vera responded, cc’ing Dean Lei, writing: “The
90th day after Commencement is August 16th. Students must have accepted an offer,
whether verbally or in writing, on or before this date.”
    59. On June 20, 2018, Assistant Dean Dean R. Vera continued the scheme to
hire unemployed RBS students via Adecco by emailing Sharon Lydon, Former
Associate Dean of the MBA Program, stating, “Hi Sharon, Would you please share
few marketing MBA student’s resumes with Gino. He is looking to hire 2 and is
approved by Dean Lei.”
    60. The next day, Sharon Lydon responded to Dan Stoll to ensure that there is
coordination between the departments and so that departments do not interview

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students who have already been successfully placed in a token position via the
illegal scheme.
    61. Thereafter, Eugene “Gino” Gentile, Director of the Office of Career
Management, interviewed two unemployed MBA students for the two approved
positions. However, both interviews were unsuccessful. The Director opined that
the one of the unemployed MBA students “has not responded to 2 voicemails
requesting an interview. Perhaps this is why this candidate is unemployed.”
                              Students “A” and “B”
    62. Nevertheless, after the unsuccessful interviews, the two approved positions
were transferred to James King, Senior Director of the Office of Career
Management, under the agreement the Adecco temp hires would report to the Senior
Director of the Office of Career Management.
    63. On August 2, 2018, James King confirmed that the Office of Career
Management has conducted interviews and extended offers to two students.
    64. On August 8, 2018, James King confirmed that Student A and Student B
accepted the positions via Adecco. Student A and Student B would be paid thirty-
five dollars an hour and work forty hours a week for the department. James King
then asked Plaintiff to “Please proceed with Adecco so we can get the offers to them
this week. Planned start date is 8/20. Thank you for your assistance.”
    65. On August 9, 2018, Defendant Rutgers and Adecco entered into a
contractual agreement for the employment of Student A and Student B, and Plaintiff
submitted Statements of Work concerning their employment.
    66. The scope of assignment was to work directly for Defendant Rutgers
Business School itself in a sham position well-below the criteria for an MBA
student:




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    67. The students were also requested to sign a “CONFIDENTIALITY AND
NON-DISCLOSURE AGREEMENT” that outlined the terms of their duties in
connection with a “temporary position with Adecco to work on assignments at
Adecco's Clients.” The agreement states, “Adecco is engaged in the business of
providing supplemental staffing services to other businesses (hereinafter referred to
as the “Client” or “Clients”).”
    68. In this regard, Adecco’s client was Defendant Rutgers itself.
    69. On August 20, 2018, Adecco extended employment contracts to Student
A and Student B for their positions at the business school. However, Student A
declined the contract. Student B accepted the contract and commenced employment
Office of Career Management on August 27, 2018.
                                    Student C
    70. On July 27, Sharon Lydon followed up with Dan Stoll concerning the
hiring of unemployed MBA students, stating “Can you begin the hiring process to

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hire the two FT MBA marketing students? Please let me know which students you
plan to hire. I will inform Jim King and Dean. They are hiring two students also and
would like you to have to first choice. Jim will complete his interviews today and
then make his selection by the end of the day today. I understand that he would like
to give you the first choice.” Dan Stoll responded, “We are only looking to hire one
MBA student, Krunal. We can start the hiring process.”
    71. On August 9, 2018, Student C accepted the position. On August 20, 2018,
Adecco extended a contract to Student C.
    72. On August 22, 2018, Dan Stoll confirmed that Student C accepted his
contract with Adecco and begins employment Monday, August 27, 2018.
                                    Student D
    73. On July 12, 2018, Department Administrator Cindy McDermott-Hicks, at
the request of Manish Kumar, reached out to Sharon Lydon concerning another
employment opportunity within the business school for an unemployed MBA
student.
    74. Manish Kumar saw the job opening as another opportunity for Defendant
Rutgers to manipulate their employment data by counting another unemployed
MBA student as employed, thereby improving Defendant Rutgers ‘ranking.’ That
same day, Sharon Lydon responded, attaching the resumes of unemployed MBA
students.
    75. On July 13, 2018, McDermott-Hicks identified three MBA candidates to
interview, and Defendant began the onboarding process with Adecco. A pay rate of
thirty-five dollars and six-month duration of the aforementioned position.
    76. On July 20, 2018, McDermott-Hicks informed Manish Kumar that they
interviewed Student D and Student E for the position. McDermott-Hicks explained
that “both are significantly overqualified for this position. It would be my
recommendation we immediately handle with OT and post for someone more suited

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to the job requirements.”
    77. To this, Manish Kumar immediately responded, “I understand they may
be overqualified but if they are willing to accept please go ahead,” exemplifying
Manish Kumar’s sole intent of inflating the MBA employment numbers to increase
the school ranking.
    78. These emails demonstrate that Defendants were going to see the fraud
through to the end, and they were clearly aware that the students were being offered
sham positions for the express purpose of inflating statistics.
    79. Thereafter, on July 23, 2018, Cindy McDermott-Hicks informed Manish
Kumar they are prepared to offer the position to Student D, noting the need for
Student D to work twenty-one hours per week to maintain his visa status.
                                     Student E
    80. On August 3, 2018, James King, at the request of Manish Kumar, reached
out to Joe Schaffer, Associate Dean of Executive Education, Corporate & Alumni
Engagement, to refer him the list of MBA candidates still seeking employment.
    81. Manish Kumar saw the job opening as another opportunity for Defendants
to manipulate their employment data by counting another unemployed MBA
student as employed, thereby improving Defendant Rutgers’ ranking.
    82. In this correspondence, James King notes his intent to hire Student A, and
recommends Student E to Joe Schaffer; noting Student E is the “best of the group –
very solid with an extensive marketing background. I did not select him as I thought
he should be able to land a full time position.”
    83. Thereafter, Joe Schaffer responded with his intent to meet with Student E
to discuss the Assistant Director of Marketing Role.
    84. On Wednesday August 8, 2018, Joe and Student E met, and Student E
accepted the Assistant Director of Marketing Role, via Adecco.
    85. On August 20, 2018, Adecco extended a contract to Student E. On or about

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August 22, 2018, Student E accepted his contract with Adecco and was able to begin
on working on Monday, August 27, 2018.
                                            Student F
    86. On Aug 8, 2018, Manish Kumar emailed Tavy Ronen, Director of
Business of Fashion Programs, Sharon Lydon, and James King to inform them that
Tavy Ronen’s program coordinator has resigned. Manish Kumar continues that
Dean Lei “has approved a temp to perm hire through Adecco until FT position can
be posted and hired… Jim/Sharon- can you please send some resumes to Tavy to
select and interview from?”
    87. The next day, on August 9, 2018, Tavy Ronen informed via email with
subject line, FW: Found an MBA through Adecco as suggested- please can you
bring her on?, stating that she had interviewed and selected Student F for the
program coordinator position at forty hours per week via Adecco. Tavy continues,
“I did everything in my power to be as swift as possible, given Sharon’s pressing
ratio deadline (tomorrow).”
    88. The rationale for the deadline is clear: Defendants wanted to be able count
another unemployed MBA student as employed in their illegal scheme to
manipulate the employment data and improve their rankings.

    89. Not surprisingly, in the same year that Defendants hatched the fraudulent
scheme, Defendant Rutgers published an article titled “Financial Times ranks
Rutgers Business School No. 1 public business school in Northeast U.S.” on its
website.4
    90. On December 19, 2018, Defendant Rutgers states, “the Financial
Times released a comprehensive overall ranking of business schools in 2018 placing

4
      https://www.business.rutgers.edu/news/financial-times-ranks-rutgers-business-school-no-1-public-
business-school-northeast-us (last visited March 25, 2022).


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Rutgers Business School No. 24 among business schools in the Americas and No.
1 among public business schools in the Northeast U.S.”
       91. In the aforementioned article, Dean Lei, Dean of Rutgers Business School,
purports the schools success as follows, “we are working hard to stay ahead of the
trends in business education, from our focus on constantly innovating our
curriculum in collaboration with alumni and corporate partners in our Executive
MBA and Full-Time MBA programs to our efforts to extend the currency of a
Rutgers Business School degree with lifelong learning through our Executive
Education programs, we are a partner with our students and alumni their entire
lives.”
       92. Dean Lei, however, failed to mention the true reason for the improved
rankings – data manipulation in violation of the law.
       93. By unlawfully bolstering its employment data, Defendant Rutgers creates
an impression of bountiful employment opportunity that does not exist, thereby
misleading Defendants’ alumni, students, and prospective students.
       94. Defendant Rutgers excessively boast their fraudulently enhanced ranking
via their marketing materials. Defendants utilize their ranking heavily to induce
students to attend the University.
       95. Defendant RBS’s official website even has its own stats & rankings page.
Defendant RBS flaunt its achievements and accolades in the rankings, stating,
“Rutgers Business School- Newark and New Brunswick is recognized as one of the
top three public business schools among Big Ten (BTAA) business schools and is
the highest-ranked public business school in the Northeast U.S.”                       5
                                                                                           The applicable
rankings for Defendant Rutgers Business School are listed as follows:



5
    https://www.business.rutgers.edu/about-rbs/ranking (last visited March 25, 2022)


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     2017

     #1 MBA Employment among the Big 10 Schools - Financial Times
     #1 Public Business School in the Tri-State Area (NY, NJ, CT) - U.S. News
     & World Report
     #1 Return on Investment, salary increase (%) in the US - Financial Times -
     #1 AIS Groups in auditing research – BYU Ranking of Accounting
     Research
     #2 Top Business Schools for Supply Chain Management - Find-MBA.com
     #2 MBA Job Placement in the U.S. - Bloomberg Businessweek
     #4 Top Business Schools for Healthcare / Pharma / Biotech - Find-
     MBA.com
     #5 Top Business Schools for Marketing - Find-MBA.com
     #5 Top Business Schools for Operations Management - Find-MBA.com
     #5 Top Executive MBA program for economics - Financial Times
     #6 Best Online Graduate Business Programs for Veterans (Excluding
     MBA) - U.S. News & World Report
     #7 Executive MBA program in the northeast - Ivy Exec
     #7 MBA in manufacturing/logistics globally (RBS Supply Chain) -
     Financial Times
     #7 Top Schools for Entrepreneurs - Bloomberg
     #8 Supply Chain Management journal research output - globally (#7 in US
     and #3 among Big 10) - The SCM Journal List
     #9 Best Business School for Supply Chain Management/Logistics - U.S.
     News & World Report
     #9 Return on Investment, salary increase (%) globally - Financial Times
     #12 Online graduate business programs in the nation (excluding MBA) -
     U.S. News & World Report
     #12 Value for Money in the US - Financial Times - Learn More
     #13 Digital Marketing Certificate program - Value Colleges
     #14 Total Salary in executive MBA programs, nationally - Financial Times
     #15 Salary Increase (%) in executive MBA programs, nationally - Financial
     Times
     #15 EMBA programs globally - CEO Magazine
     #17 Financial Engineering Programs in North America - QuantNet
     #22 Top executive MBA program, nationally - Financial Times
     #35 Best Colleges for Business Majors - Money
     #37 Top 100 full-time MBA program in the US - Financial Times - Learn
     More
     #38 Part-Time MBA Program, nationwide - U.S. News & World Report -
     Learn More
     #48 MBA Program globally - QS World University rankings
     #49 Top 100 U.S. MBA programs - Poets & Quants
     #50 Full-Time MBA program, nationwide - U.S. News & World Report -
     Learn More
     #52 Full-Time MBA program, nationwide - Forbes
     #70 Top 100 full-time MBA program in the world - Financial Times - Learn
     More




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     2018

     #1 Public Business School in the Northeast U.S. - Financial Times
     #2 Top MBA program in Supply Chain Management - Find-MBA.com
     #2 Top Executive MBA program in Economics - Financial Times
     #3 Top Executive MBA program in Statistics - Financial Times
     #3 Top Executive MBA program in Corporate Strategy - Financial Times
     #3 Executive MBA program with Strong Career Services Support - globally
     – Ivy Exec
     #3 Executive MBA program for Executives in the Government and
     Nonprofit Sectors - Ivy Exec
     #3 Public Business School among the 14 Big Ten (BTAA) business schools
     - Financial Times
     #4 Top 10 MBA program in Healthcare/Pharma/Biotech - Find-MBA.com
     #5 Best Online Accounting Master's for Government Employees - Online
     Masters
     #5 Top 25 North American Supply Chain Graduate Programs - Gartner
     #5 Top 10 MBA program in Operations Management - Find-MBA.com
     #5 Executive MBA program in the Northeast - Ivy Exec
     #6 Supply Chain Management program in the U.S. - U.S. News & World
     Report
     #7 Public Business School in the U.S. - Financial Times
     #8 Best Online Master’s Program (Supply Chain Management) - Best
     Colleges
     #8 Best Online Graduate Business Programs: Accounting - U.S. News &
     World Report
     #9 Best Online Master’s in Supply Chain Management - Best College
     Review
     #9 Best Online Graduate Business Programs: Supply Chain
     Management/Logistics - U.S. News & World Report
     #10 Top Executive MBA program in Manufacturing/Logistics - Financial
     Times
     #11 Executive Education Open Enrollment Programs in the U.S. - Financial
     Times
     #11 Executive MBA program in the world - CEO Magazine
     #11 Value Colleges’ Top 50 Best Value Master’s in Taxation Degrees -
     Value Colleges
     #16 Quantitative Finance program in North America (#1 in the Big Ten) -
     QuantNet
     #19 Two-year MBA degrees among public business schools - Times Higher
     Education/Wall Street Journal
     #21 Best Online Graduate Business Programs - U.S. News & World Report
     #22 Top EMBA program in the U.S. - Financial Times
     #24 Top Business School in the Americas - Financial Times
     #27 Executive MBA program in the U.S. - The Economist
     #38 MBA program in Career Services globally - Financial Times
     #45 Executive MBA program in the world - The Economist
     #46 Two-year MBA degrees, Global - Times Higher Education/Wall Street
     Journal
     #47 Top 100 full-time MBA program in the world - Financial Times



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     2019:

     #1 Return-on-Investment for a business degree in the Northeast, RBS-New
     Brunswick - Poets & Quants
     #1 Executive MBA program for Life Balance, globally - Ivy Exec
     #1 Accounting Information Systems (AIS) group in auditing research -
     globally - Brigham Young University (BYU) Ranking of Accounting
     Research
     #2 Best Online Master's in Accounting Programs (Masters in Governmental
     Accounting) - College Consensus
     #2 Executive MBA program in Economics, globally - Financial Times
     #5 Executive MBA program for Corporate Social Responsibility, globally
     - Financial Times
     #5 Best Master’s in Taxation in the U.S - Accounting Degree Review
     #6 Best Online Graduate Supply Chain Management/Logistics Business
     Programs - U.S. News & World Report
     #6 Business Schools in the U.S. with the most international students, RBS
     New Brunswick - Poets & Quants
     #8 Best Online Master’s in Management Program in the U.S. -Supply Chain
     Management (#2 in the Big 10) Best Colleges
     #8 Master of Public Health/MBA Dual Degrees - MPH Online
     #9 Best Online Graduate Accounting Business Programs - U.S. News &
     World Report
     #10 Executive Education Open Enrollment Programs in the U.S. (#5 among
     U.S. public business schools) Financial Times
     #11 Executive MBA program, globally - CEO Magazine
     #13 Return-on-Investment for a business degree, RBS-New Brunswick -
     Poets & Quants
     #17 Best Online Graduate Business Programs - U.S. News & World Report
     #18 Financial Engineering (MFE) programs (Master of Quantitative
     Finance) - QuantNet
     #19 Executive MBA program, in the US - Financial Times
     #20 Executive MBA program, globally - Ivy Exec
     #24 Top Executive MBA programs in the nation - Poets & Quants
     #28 Return-on-Investment for a business degree, RBS-Newark - Poets &
     Quants
     #50 Full-Time MBA program in the U.S. - QS Top MBA
     Top 5 Executive MBA Programs with a Focus on Healthcare - Ivy Exec
     Top 10 Top Business Schools for Supply Chain Management, Operations
     Management, & Healthcare/Pharma/Biotech - Find-MBA.com




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     2020

     #1 Public Executive MBA program in the Northeast - Ivy Exec
     #1 Public MBA (Full-Time & Part-Time) in New York Tristate
     (NY/NJ/CT) - U.S. News & World Report (Full-Time MBA) & U.S. News
     & World Report (Part-Time MBA)
     #2 Executive MBA program in Economics, globally - Financial Times
     #3 Executive MBA program for Life Balance, globally - Ivy Exec
     #6 Financial Engineering Program in U.S. for job placement 3-months after
     graduation - QuantNet
     #6 Best Online Graduate Supply Chain Management/Logistics Business
     Programs - U.S. News & World Report
     #8 Best Supply Chain Management Bachelor Degrees - Great Business
     Schools
     #9 Open-Enrollment Executive Education Programs in the US - Financial
     Times
     #10 Student rating of the quality of the faculty, globally (EMBA) - The
     Economist
     #11 Supply Chain Management MBA in the U.S. - U.S. News & World
     Report
     #13 Best Online Graduate Accounting Business Programs - U.S. News &
     World Report
     #15 Best Master's in Quantitative Finance Programs - QuantNet
     #15 Executive MBA program, in the US - Financial Times
     #16 Executive MBA program, globally - CEO Magazine
     #22 Best Online Graduate Business Programs - U.S. News & World Report
     #23 Executive MBA program in the U.S. (#35 globally) - Ivy Exec
     #28 Top Executive MBA programs in the U.S (#5 in the Big 10). - The
     Economist
     #46 Best Business Administration Schools and Colleges in the U.S. -
     University HQ
     #48 Top Executive MBA programs in the World - The Economist
     #48 Best Business Schools and Colleges in the U.S. - UniversityHQ
     #49 Open-Enrollment Executive Education Programs in the World -
     Financial Times
     #52 Part-Time MBA in the U.S. -U.S. News & World Report
     #56 Full-Time MBA in the U.S. - U.S. News & World Report
     Top 5 Best EMBA Programs for Aspiring Entrepreneurs - Ivy Exec




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     2021

     #1 Public Business School in the Northeast - Fortune
     #1 Public MBA for Entrepreneurship on the East Coast - Poets & Quants
     #1 Public Business School in the Northeast - Eduniversal
     #1 MBA in International Business - Great Business Schools
     #1 Public Business School for MBA Total Salary in the Northeast -
     Financial Times
     #1 Public Business School for MBA Career Services in the Northeast -
     Financial Times
     #1 Top Part-Time MBA Program in the Northeast - University HQ
     #1 Best Public Full-Time MBA Program in the Northeast - Fortune
     #1 Top Business Schools for Healthcare / Pharma / Biotech - Find-
     MBA.com
     #2 Top Business Schools for Supply Chain Management - Find-MBA.com
     #3 World’s Top 100 Business School for Economics Teaching - Financial
     Times
     #3 Best Online Accounting Masters (in Governmental Accounting) - Great
     Business Schools
     #3 Public Business School on the East Coast - Eduniversal
     #3 Value for Money in the Northeast - Financial Times
     #4 Best Value Online Digital Marketing Master's in the U.S. - Value
     Colleges
     #5 Top Business Schools for Operations Management - Find-MBA.com
     #5 Best Online Masters Programs for (non-MBA) for Veterans - U.S. News
     & World Report
     #5 Salary Increase (%) in the U.S. (Executive MBA) - Financial Times
     #6 Best Online Masters Programs (non-MBA) for Supply Chain
     Management - U.S. News & World Report
     #6 Best Online Masters Programs (non-MBA) for Marketing - U.S. News
     & World Report
     #6 Career Progress in the U.S. (Executive MBA) - Financial Times
     #8 Best Master’s Degrees in Taxation - Grad School Hub
     #8 Best Online Masters Programs (non-MBA) for Accounting - U.S. News
     & World Report
     #8 Top Finance Schools and University Programs in the U.S. - University
     HQ
     #9 Top Business Schools With The Most International Students - Poets &
     Quants
     #11 Public Business School in the U.S. - Eduniversal
     #11 Best Accounting Schools and Universities in the U.S. - University HQ
     #11 Public Executive MBA program in the U.S. - Poets & Quants
     #12 Best Overall Online Masters Programs (non-MBA) (#3 in the Big Ten)
     - U.S. News & World Report
     #13 Executive MBA program, globally - CEO Magazine
     #14 Best Financial Engineering Programs - QuantNet
     #15 Top Part-Time MBA Program in the U.S. (#4 in the Big Ten) -
     University HQ
     #16 Best Public Full-Time MBA Program in the U.S. - Fortune
     #17 Public Business School for MBA Career Services in the U.S. -
     Financial Times
     #19 Top University for Business & Economics among U.S. public
     universities (Rutgers – New Brunswick) - Times Higher Education

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     #20 World’s Top 100 Business Schools for Executive MBA in the U.S. (#4
     in the Big Ten) Financial Times
     #21 Public Business School in the U.S. - Financial Times
     #21 Career Progress worldwide (Executive MBA) - Financial Times
     #22 Public Business School for MBA Career Services in the World -
     Financial Times
     #22 Executive MBA program in the U.S. - Poets & Quants
     #24 Best MBA Program for Entrepreneurship globally (#4 in the Big 10) -
     Poets & Quants
     #25 Salary Increase (%) worldwide (Executive MBA) - Financial Times
     #29 Top Business School in the U.S. - Eduniversal
     #36 Top University for Business & Economics in the U.S. (Rutgers – New
     Brunswick) - Times Higher Education
     #37 Best Full-Time MBA Programs of 2021 - Fortune
     #86 Public Business School in the World - Financial Times
     #88 World’s Top 100 Business Schools for Executive MBA - Financial
     Times
     2022

     #1 Public Business School in the Northeast (MBA) - Bloomberg
     Businessweek
     #1 Public Business School in the U.S. for Salary Percentage Increase
     (MBA) - Financial Times
     #2 Best Public MBA Program for Entrepreneurship in the U.S. - Poets &
     Quants
     #3 Best Overall Employment Outcomes in the U.S. (MBA) - Financial
     Times
     #4 Best Online Accounting Program (MACC Governmental Accounting) -
     Value Colleges
     #6 Best Bachelor’s in Supply Chain Management in the U.S. - Bachelor’s
     Degree Center
     #7 Best Public Financial Engineering Program in the U.S. - QuantNet
     #8 Global Executive MBA - CEO Magazine
     #10 World's Best Public MBA Program for Entrepreneurship - Poets &
     Quants
     #12 Supply Chain Management MBA programs in the U.S. - U.S. News &
     World Report
     #14 Public Business School in the U.S. (MBA) - Financial Times
     #15 Best Public Business School in the U.S. (MBA) - Bloomberg
     Businessweek
     #16 MBA employment nationwide (Full-Time MBA) - U.S. News & World
     Report
     #16 Top 25 public MBA programs in the U.S. (Part-Time MBA) - U.S.
     News & World Report
     #16 Best Financial Engineering Program in the U.S. (#1 in the Big Ten ) -
     QuantNet
     #21 Top Business School in the U.S. for Diversity (MBA) - Bloomberg
     Businessweek
     #22 Top 25 public MBA programs in the U.S. (Full-Time MBA ) - U.S.
     News & World Report
     #28 Top MBA programs in the U.S. (Part-Time MBA) - U.S. News &
     World Report

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      #37 Best Business School in the U.S. (MBA) - Bloomberg Businessweek
      #38 Best Business School in the U.S. (MBA) - Financial Times
      #44 Top MBA programs in the U.S. (Full-Time MBA) - U.S. News &
      World Report
      #69 Best Overall Business School for Global MBA - Financial Times
    96. According to Defendants’ website, “[t]he average MBA salary three years
after graduation, $129,570, was the best in the Northeast U.S. for Public MBA
programs according to Financial Times 2022 report on the Best 100 Global MBA
programs.” https://www.business.rutgers.edu/full-time-mba (last visited April 12,
2022). Defendants also represented: “[o]ur dedicated career management staff and
our talented MBA students are a powerful combination. It's why we are ranked #1
in MBA employment in the Big 10, #1 in MBA job placement nationwide and #1
for return-on-investment and salary increase in the U.S.” Id.
    97. On August 10, 2018, Dean Lei congratulated Assistant Dean Dean R.Vera,
Ashwani Monga (Provost and Executive Vice Chancellor of RU-N) and Professor
James King for their efforts:
             RE: Class2018 Placement
             From: Lei Lei
             Sent: Friday, August 10, 2018 10:25 AM
             To: Ashwani Monga <amonga@business.rutgers.edu>;
             James King <jking@business.rutgers.edu>; Dean Vera
             <dvera@business.rutgers.edu>
             Subject: Class2018 Placement
             Ashwani, Jim and Dean:

             Looks like the number of still-seeking is now down to 17.
             This is a very impressive result given the large number of
             FT MBAs (109) and the large number of F1 visa students
             who have graduated this year. Thanks for your hard work
             and dedication toward serving our students.

             Meanwhile, please also keep in mind that, among the 92
             students who have been placed with FT jobs, we do have
             few (6?) students hired by Addeco to fill urgent temporary
             work needs at Rutgers/RBS. I am not familiar with the
             placement data reporting process. However, if the

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             temporary hiring should be disclosed to the ranking
             agency, please do so to avoid any misunderstanding. The
             reputation of RBS and our integrity are more important
             than anything else.
             Manish and Dee are working with Addeco on the contracts
             for the temporary hiring now (e.g., pay rate, employment
             duration, etc.). Please work with them to ensure the
             contracts are done properly.

             Lei

    98. That same day, Assistant Dean Dean R. Vera responds, stating, “Thank
you, Lei. Regarding the Adecco hires, it is my understanding that these are contract
positions with the potential of leading to a full-time position. (Please check with
Manish.) If that is the case, the Standards state that we count them as employed.”
    99. Manish Kumar confirms, stating, “Attached is a sample contract. At
Rutgers to hire for a FT position we have to go through open search and ROCS. Of
course, if theses Adecco employee perform well, RBS will give them full
consideration during search process which could potentially lead to their hire.” To
which, Assistant Dean Dean R. Vera responds, “Thank you for the clarification,
Manish.”
  100. Defendants counted the internal MBA students (via Adecco) as employed
in order to manipulate employment data and improve their rankings.
  101. To make matter worse, Defendants counted the Adecco hires as employed
on August 10, 2018, even though the unemployed MBA students were not extended
offers via Adecco until August 14, 2018 and August 20, 2018. This too was a false
and misleading representation.
  102. The false and misleading data has artificially boosted Defendant Rutgers’s
rankings. The submission includes three years’ worth of information. Thus, the
data submitted in 2018, impacts the rankings for 2019, 2020, and 2021. Dean Lei
recently reported that Rutgers once again moved up in the rankings:

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  103. Shortly after Dean Lei reported on Defendant Rutgers’s rankings, on
March 11, 2022, Dean Porat of Temple’s Fox Business School was sentenced to
one year and two months in prison, three years of supervised release, and was
ordered to pay a $250,000 fine by United States District Court Judge Gerald J.
Pappert after being convicted of fraud in connection with a scheme to artificially
inflate the school’s program rankings against other schools nationwide by sending
false information about GRE and GMAT scores to U.S. News and World Report.
This generated some $40 million in extra tuition dollars for the university, according
to the government at the time of his conviction.
  104. The conviction rattled Defendant Rutgers Business School employees,
including Dean Lei.     Indeed, many Defendant RBS professors began openly
discussing the propriety of the conviction and downplayed the seriousness of the
crime. Dean Lei was copied on the emails:




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  105. The professors also discuss the data manipulation and how it could go a
long way in swaying the rankings:




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                  V.         CLASS ACTION ALLEGATIONS
                                  Class Definition
   106. Plaintiff brings this action pursuant to 28 U.S.C. § 1332(d) on behalf of a
proposed class of persons (the “Class”) pursuant to Federal Rules of Civil Procedure
23(b)(2), (3), defined as:
          All persons in the United States enrolled as students in the Master
          of Business Administration and other master degree programs
          offered by Rutgers Business School between January 1, 2018 and
          the present.
   107. Excluded from the Class are Defendants, any of its past or present officers,
directors, agents, and affiliates, any judge who presides over the action, and all
counsel of record.
   108. Plaintiff reserves the right to expand, limit, modify, or amend the
definitions of the class as may be desirable or appropriate during the course of the
litigation.
   109. Class certification is proper because the question raised by the Class
Action Complaint is one of a common or general interest affecting numerous
persons so that it is impracticable to bring them all before the Court.
                         Numerosity and Ascertainability
   110. The class is sufficiently numerous, as Defendant Rutgers Business School
boasts an enrollment of approximately 981 MBA students, as well as additional
graduate students in its masters programs. https://www.business.rutgers.edu/about-
rbs/at-a-glance (last visited April 12, 2022). Class members may be identified
through objective means, such as Defendants’ records, and notified of the action by
recognized methods of notice, such as mail or e-mail, or publication in print or on
the Internet. Furthermore, Defendants maintain records and/or rosters of all of their
attending students and their financial obligations and payments.

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                                     Adequacy
  111. Plaintiff and her counsel are adequate representatives of the interests of the
putative Class. Plaintiff is a student at Rutgers who is being charged tuition and
fees as part of his enrollment. He contends that Rutgers has misrepresented its
employability statistics to students and third-party entities that ranked Rutgers as a
top business school. According to Defendants’ website, “Ranked as the #1 Public
Business School for MBA Career Services in the Northeast (Financial Times, 2021),
we help MBA students become competitive candidates so that they can secure MBA
career opportunities.”
https://www.business.rutgers.edu/sites/default/files/documents/factsheet-mba-full-
time.pdf (last visited April 12, 2022). And the rankings above were tainted by
Defendants’ fraudulent and deceptive business practices in connection with their
reporting to the third-parties that ranked Rutgers Business School.
  112. Plaintiff has retained counsel experienced in class action litigation to
litigate and represent the interests of Plaintiff, the Class Representative, and the
Class.
                                     Typicality
  113. Plaintiff’s claims are typical of the claims being raised on behalf of the
absent Class members. Plaintiff and the Class members have been injured by the
same wrongful practices of Rutgers. Plaintiff’s claims arise from the same practices
and conduct that give rise to the claims of all Class members and are based on the
same legal theories.
                                     Superiority
  114. A class action is superior to other available methods for the fair and
efficient adjudication of the controversy. Here, classwide litigation is superior to
individually litigating and adjudicating the dispute, because given the size of the
individual Class member’s claims and the expense of litigating those claims, few,

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if any, Class members could afford to or would seek legal redress individually for
the wrongs Defendants committed against them and absent Class members have no
substantial interest in individually controlling the prosecution of individual actions.
This action will also promote an orderly and expeditious administration and
adjudication of the proposed Class claims, economies of time, effort and resources
will be fostered, and uniformity of decisions will be insured. Without a class action,
Class members will continue to suffer damages, and Rutgers’ violations of law will
proceed without remedy while Defendants continue to reap and retain the proceeds
of the wrongful conduct. Plaintiff is not aware of any difficulty that would be
encountered in the management of this litigation which would preclude class
certification.
   115. A class action is also superior to other available methods for the fair and
efficient adjudication of the controversy because it eliminates the prospect of
inconsistent rulings that would unsettle the legal obligations or expectations of
Defendant, Plaintiff, and Class members.
   116. Because the damages suffered by each individual class member may be
relatively small, the expense and burden of individual litigation would make it very
difficult or impossible for individual class members to redress the wrongs done to
each of them individually, so that the prosecution of specific actions and the burden
imposed on the judicial system by individual litigation by the Class would be
significant, making class adjudication the superior option.
   117. The conduct of the action as a class action presents far fewer management
difficulties, far better conserves judicial resources and the parties’ resources, and
far more effectively protects the rights of each class member than would piecemeal
litigation.      Compared to the expense, burdens, inconsistencies, economic
infeasibility, and inefficiencies of individualized litigation, any challenge of
managing the action as a class action is substantially outweighed by the benefits to

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the legitimate interests of the parties, the Court, and the public of class treatment,
making class adjudication superior to other alternatives.
                          Commonality and Predominance
  118. Plaintiff’s Complaint raises questions of fact or law common to the class
that predominate over questions affecting only individual class members. Among
these predominating common questions are:
          a. Whether the relationship between Defendant and Plaintiff and
members of the Class is contractual;
         b. Whether Rutgers breached its educational contract with Plaintiff and
members of the proposed Class;
          c. Whether Plaintiff and Class members have been harmed and the proper
measure of relief;
         d. Whether Plaintiff and Class members are entitled to an award of
attorneys’ fees and expenses; and
          e. Whether Plaintiff and Class members are entitled to declaratory and/or
equitable relief, and if so, the nature of such relief.
          f. Whether Defendants were unjustly enriched by retaining tuition and
mandatory fee and other expense payments when Plaintiff and Class members were
duped into paying premium prices for discount degrees.
  119. In the event that the Court were to find the proposed class definition
inadequate in any way, Plaintiff respectfully prays for certification of any other
alternative, narrower class definition or for the certification of subclasses, as
appropriate.




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                                      COUNT I
                          New Jersey Consumer Fraud Act
            (On Behalf of Plaintiff and the Class Against All Defendants)
  120. Plaintiff re-alleges and incorporates by reference all previous allegations
as though set forth in full herein.
  121. The term “merchandise” under the New Jersey Consumer Fraud Act
includes “goods” and “services or anything offered, directly or indirectly to the
public for sale.” N.J.S.A. 56:80-1(c).
  122. Defendants are in the business of marketing and delivering education
services and degrees to the general public.
  123. As students, Plaintiff and the Class members are consumers of educational
services.
  124. The educational services and degrees offered by Rutgers are
“merchandise” under the New Jersey Consumer Fraud Act.
  125. Rutgers, an educational institution, is subject to the same laws, both
statutory and common law, that govern other purveyors of goods and services in
New Jersey.
  126. Section 56:8-2 of the New Jersey Consumer Fraud Act provides that:
               The act, use or employment by any person of any
               unconscionable commercial practice, deception, fraud,
               false pretense, false promise, misrepresentation, or the
               knowing, concealment, suppression, or omission of any
               material fact with intent that others rely upon such
               concealment, suppression or omission, in connection with
               the sale or advertisement of any merchandise or real estate,
               or with the subsequent performance of such person as
               aforesaid, whether or not any person has in fact been
               misled, deceived or damaged thereby, is declared to be an
               unlawful practice ….

       N.J.S.A. 56:8-2.

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  127. Rutgers violated the New Jersey Consumer Fraud Act by engaging in an
“unconscionable commercial practice,” “deception,” “fraud,” “false pretense,”
“false promise,” and “misrepresentation” by deceptively reporting admissions data
to increase its rankings.
  128. In addition, if Rutgers had questions about this practice of hiring students
through a temp agency and counting them as employed for purposes of
employability statistics it should have asked the third-party ranking entities. But it
did not, and thereby it knowingly concealed and omitted these material facts from
the ranking entities, such as U.S. News and World Report, among others.
  129. Rutgers intended that the third-party ranking organizations would rely on
its employability statistics that it deceptively reported.
  130. Rutgers misrepresented to U.S. News and World Report, and other
educational ranking         organizations, that   its programs possessed      certain
characteristics, qualifications, requirements, benefits, and levels of attainment that
were known not to actually exist at the time reported.
  131. At all relevant times, Rutgers knew that its Business School MBA and
masters programs’ rankings were based upon misreported data and deceptive
reporting practices it employed.
  132. Rutgers’s fraudulent misrepresentations, along with its known omissions,
deceived or had the tendency to deceive a substantial segment of its student body,
including Plaintiff.
  133. Plaintiff and Class members suffered an ascertainable loss in connection
with the payment of tuition, fees and educational expenses to Rutgers.
  134. Rutgers knew that its rankings of the Rutgers Business School provided
significant leverage to enable the school to increase enrollment in its Business
School.


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  135. Rutgers knew that its failure to achieve high rankings was likely to make
a difference in the purchasing decisions of prospective applicants to the Rutgers
Business School.
  136. But for Rutgers’ deceptive reporting of admissions data that increased its
rankings, Plaintiff and Class members would not have enrolled at Rutgers and paid
its premium tuition and fees.
  137. Plaintiff and Class members, despite paying a premium tuition, received
an education less than and different from what they expected based on Rutgers’
false statistics and rankings.
  138. Rutgers’ violations of the New Jersey Consumer Fraud Act, as described
herein, have directly caused Plaintiff and the Class members to have suffered
ascertainable loss for damages measured by the incremental difference the tuition
and fees Rutgers actually charged to Plaintiff and the amount of tuition and fees
they would have paid had they enrolled in other unranked or lower ranked programs.
  139. Rutgers’ violations of the New Jersey Consumer Fraud Act, as described
herein, have directly caused Plaintiff and the Class members to have suffered
ascertainable loss for damages in the nature of costs for books and other fees and
educational expenses.
  140. As a proximate result of Rutgers’ New Jersey Consumer Fraud Act
violations, Defendants are liable to Plaintiff and Class members for compensatory,
consequential, punitive, and treble damages.
  141. As a proximate result of Rutgers’ New Jersey Consumer Fraud Act
violations, Defendants are liable to Plaintiff and Class members for reasonable
attorneys’ fees and costs of this litigation.




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                                      COUNT II
                                 Breach of Contract
            (On Behalf of Plaintiff and the Class Against All Defendants)
  142. Plaintiff re-alleges and incorporates by reference all previous allegations
as though set forth in full herein.
  143. By the act of matriculation, together with payment of required fees, a
contract between Plaintiff and Class members, on the one hand, and Defendants, on
the other hand, was created, in addition to any enrollment contract that may have
existed between Defendants and the Plaintiff.
  144. The law recognizes that there is an educational contractual relationship
between student and college/university.
  145. Plaintiff accepted Rutgers’ offer to education leading to a degree and
entered into an agreement to attend Rutgers Business School in exchange for
payment of agreed upon tuition and fees.
  146. Rutgers agreed to provide Plaintiff with the necessary course work,
instruction and training, in a specified time frame, whereby Plaintiff would be
eligible to earn certification for a degree upon successful completion of the required
courses.
  147. Plaintiff and Class members performed their obligations under the
contract.
  148. Rutgers breached the educational agreement with Plaintiff and each Class
member by misreporting data to educational ranking organizations.
  149. Rutgers breached its educational agreement with each Plaintiff and
members of the Class by representing to U.S. News and World Report and the
Financial Times, among others, that its programs possessed certain characteristics,
qualifications, requirements, benefits and levels of attainment that were known not
to actually existed at the time of reporting.

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   150. Plaintiff and the Class members reasonably relied upon the fact that
Rutgers would truthfully and accurately submit information and critical data to U.S.
News and World Report and other organizations that ranked U.S. programs.
   151. Plaintiff and the Class members had no means of knowing or learning that
Rutgers was engaged in misreporting of data to educational ranking organizations.
   152. If Plaintiff and/or Class members had knowledge of Rutgers’ misreporting
of data and deceptive practices described herein, they would not have applied for
admission or agreed to pay Rutgers’ premiums for tuition, fees, and costs.
   153. By reason of Rutgers’ above-described breaches of the educational
agreement, Plaintiff and Class members have been damaged and sustained
pecuniary injury.
   154. By reason of Rutgers’ above-described breaches of the educational
agreement, Plaintiff and Class members have sustained damages for the loss of the
benefit of the bargain, equal to what Plaintiff and the Class members would have
received, if the representations to the educational ranking organizations had been
true.
   155. By reason of Rutgers’ above-described breaches of the educational
agreement, Plaintiff and Class members have suffered out-of-pocket damages for
the incremental difference between the tuition and fees Rutgers actually charged to
Plaintiff and Class members, and the amount of tuition and fees they would have
paid had they enrolled in other unranked programs.
   156. By reason of Rutgers’ above-described breaches of the educational
agreement, Plaintiff and Class members have suffered consequential damages in the
nature of books, educational expenses, application fees, transaction fees, and
interest charged in connection with student loans, including Student Fees,
Technology      Fees,     PIRG      Fees,     School     Fees.         See,    e.g.,
https://www.business.rutgers.edu/part-time-mba/tuition (last visited April 12,

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2022).
  157. As a proximate result of Rutgers’ breaches of the education agreement,
Defendants are liable to Plaintiff and Class members for reasonable attorneys’ fees
and costs of this litigation.
                                      COUNT III
                                 Unjust Enrichment
         (On Behalf of Plaintiff and the Class Against All Defendants)
  158. Plaintiff re-alleges and incorporates by reference all previous allegations
as though set forth in full herein.
  159. At all relevant times, Rutgers knew that the misreporting of critical data to
educational ranking organizations was necessary for it to improve and maintain its
rankings of Rutgers Business School.
  160. Rutgers knew that its rankings provided significant leverage to enable the
school to increase tuition rates and fees for its program offerings.
  161. Rutgers knew that its failure to achieve high rankings, as described above,
was likely to make a difference in the purchasing decisions of prospective applicants
to Rutgers’ MBA and masters programs at Rutgers Business School.
  162. Plaintiff and the Class members paid a premium for tuition and other fees
to attend Rutgers Business School and did not receive what they bargained for.
  163. Rutgers’ actions, conduct and omissions, as described herein, were
immoral, unethical, unjust, and unscrupulous.
  164. As a result of the foregoing, Defendants were enriched at Plaintiff and the
Class members’ expense, by Rutgers’ wrongful conduct and actions, and
accordingly, it would be inequitable to permit Defendants to retain all of the benefits
Plaintiff and Class members conferred on Defendants the form of tuition and fees
paid.
  165. Plaintiff and Class members are entitled to and hereby pray for an order of

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restitution as redress for Defendants’ unjust enrichment. Plaintiff prays for the
establishment of a Court-ordered and supervised common fund from which the
claims of affected Class members may be paid and the attorneys’ fees and costs of
suit expended by class counsel, as approved by the Court, may be awarded and
reimbursed.
  166. Defendants continues to falsely represent on its web site that it offers
campus facilities with significant benefit and value to students and continue to
falsely represent the value of their in-person on-campus classroom instruction. See
https://www.business.rutgers.edu/news/university-responds-lawsuit-against-
rutgers-business-school;
https://www.business.rutgers.edu/sites/default/files/documents/factsheet-mba-full-
time.pdf (last visited April 12, 2022). Unless restrained by way of injunctive relief,
Defendants’ conduct is reasonably likely to lead to irreparable harm. Plaintiff and
Class members are entitled to and hereby pray for injunctive relief to enjoin
Defendants’ continued conduct.
  167. By reason of the foregoing, Plaintiff and Class members have sustained
damages in an amount to be determined at trial.
                      VI.        PRAYER FOR RELIEF
     WHEREFORE, Plaintiff, on behalf of himself and all others similarly situated,
respectfully requests that the Court finds against Defendant as follows:
     1. An order certifying the action as a class action as defined herein,
appointing Plaintiff as Class representative, his counsel as Class counsel, and
directing that notice be disseminated to the absent Class members;
     2. For judgment in favor of Plaintiff and Class members and against
Defendants on all counts and claims for relief;
     3. For compensatory, consequential, general, and special damages and/or
restitution in an amount to be determined at trial;

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     4. For statutory damages, punitive damages, treble damages, and special or
exemplary damages to the extent permitted by law;
     5. Pre-judgment and post-judgment interest at the maximum legal rates; and
     6. For the establishment of a Court-ordered and -supervised common fund to
be funded by Defendants and from which claims of all eligible class members will
be paid, attorneys’ fees awarded to class counsel will be paid, costs of suit approved
by the Court and incurred by Class counsel will be reimbursed, and any award of
interest will be disbursed;
     7. For interest as permitted by law;
     8. For an award of attorneys’ fees;
     9. For costs of suit;
    10. For declaratory relief, to have the Court declare the obligations of the
parties;
    11. For injunctive and declaratory relief to enjoin Defendants’ ongoing
conduct; and
    12. For all such other relief as the Court deems just and proper.
                  VII.           DEMAND FOR JURY TRIAL
     Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff
LORENZO BUDET, on behalf of himself and all others similarly situated, hereby
demands a jury trial with respect to all issues triable of right by jury.
                         VIII.       CERTIFICATION
     It is hereby certified pursuant to 28 U.S.C. § 1746 and pursuant to L.Civ.R.
11.2 that the matter in controversy is not presently the subject of any other action
pending in any court or of an arbitration proceeding to date.




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Dated: April 12, 2022               McOMBER McOMBER & LUBER, P.C.
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